Case 2:05-cV-02136-.]DB-tmp Document 19 Filed 08/01/05 Page 1 of 2 Page|D 20

IN THE UNITED sTATEs DISTRICT coURT ""ED BY -PD-C-
FoR THE WEsTERN DISTRICT oF TENNESSEE
WEsTERN DIVIsIoN 95 AUG *| PH 3= |0

ROBERT E. ("BOB") GIVEN,
dfb/a R.J.R. PAINTING,

 

Plaintiff,
V- No. 05-2136-B/P
R & R MANAGEMENT, LLC,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is the Motion of Defendant to Set Aside Default Judgment of Plaintiff,
Robert E. ("Bob") Given, d/b/a R.J.R. Painting filed on July 21, 2005. This matter is hereby
referred to the United States Magistrate Judge for determination and/or a report and
recommendation Any objections to the magistrate judge’s order and/or report and
recommendation shall be made within ten (10) days after service of the report/order, setting
forth particularly those portions of the order and/or report objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order and/or
report will constitute a Waiver of that objection. §e_e Rule 72(a), Federal Rules of Civil
Procedure.

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IT rs so 0R1)ERED this 5 day of August, 2005.

 

 

 

J. DANIEL BREEN
N `ED STATES DISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 19 in
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Honorable J. Breen
US DISTRICT COURT

